     Case
      Case2:10-cr-00547-RFB-PAL
            2:10-cr-00547-RLH-PAL Document
                                  Document936  Filed07/02/15
                                           934 Filed 07/06/15 Page
                                                               Page11
                                                                    ofof
                                                                       33


      DANIEL G. BOGDEN
      United States Attorney
 1
      ELIZABETH OLSON WHITE
 2    Appellate Chief and
      Assistant United States Attorney
 3    100 West Liberty, Suite 600
      Reno, Nevada 89501
 4
      (775) 784-5438
 5
                            UNITED STATES DISTRICT COURT
 6                               DISTRICT OF NEVADA
 7

 8    UNITED STATES OF AMERICA,             )
                                            )        2:10-CR-547-RLH-GWF
 9           Plaintiff,                     )
10                                          )
                 v.                         )        Government’s Unopposed Motion
11                                          )        for Order for Clerk to Provide
      SHAWN JOSEPH NEWKIRK,                 )        Sealed Document to Counsel
12                                          )
13           Defendant.                     )
      _____________________________________ )
14
             The United States of America, by and through DANIEL G. BOGDEN, United
15

16    States Attorney, and ELIZABETH O. WHITE, Appellate Chief and Assistant United

17    States Attorney, files this unopposed motion respectfully requesting that the Court

18    enter an Order directing the Clerk to provide copies of sealed Doc. #705 in the
19
      above-captioned case to undersigned government counsel and to Assistant Federal
20
      Public Defender Nisha Brooks-Whittington, Esq., counsel for Defendant Shawn
21

22    Joseph Newkirk.

23           This order is sought for the following reasons:

24    1.      On November 13, 2012, this Court sentenced Defendant to 48 months'
25

26                                               1
     Case
      Case2:10-cr-00547-RFB-PAL
            2:10-cr-00547-RLH-PAL Document
                                  Document936  Filed07/02/15
                                           934 Filed 07/06/15 Page
                                                               Page22
                                                                    ofof
                                                                       33


      imprisonment on his conviction for drug-related offenses. CR 722.
 1
      2.     On February 27, 2015, Defendant filed a pro se motion for a reduction of
 2
      sentence pursuant to 18 U.S.C. § 3582(c)(2) in light of Guidelines Amendment 782.
 3
      CR 906.
 4

 5    3.     On March 3, 2015, this Court issued an Order appointing the Federal Public

 6    Defender to represent Defendant, and setting deadlines. (A joint stipulation to extend
 7
      those deadlines was filed on July 1, 2015, and is currently pending, see CR 933).
 8
      4.     To determine whether Defendant is eligible for a sentence reduction pursuant
 9
      to 18 U.S.C. § 3582(c)(2) in light of Guidelines Amendment 782, counsel need access to
10

11    the Government’s Motion for Departure (sealed documents #705), which this Court

12    granted at Defendant’s sentencing hearing. See CR 717. Undersigned counsel has
13
      been advised by the Clerk’s Office that it cannot provide counsel with that sealed
14
      document without an Order from the Court.
15
             WHEREFORE, based on the foregoing, the government respectfully requests
16

17    that the Court enter an Order directing the Clerk to provide copies of Sealed Doc.

18    #705 to undersigned government counsel and counsel for Newkirk.
19
             DATED this 2d day of July, 2015.
20
                                                     DANIEL G. BOGDEN
21                                                   United States Attorney
22
     IT IS SO ORDERED.
23                                                   s/ Elizabeth O. White
                                                     ELIZABETH O. WHITE
24   _____________________________                   Appellate Chief and
     UNITED STATES DISTRICT JUDGE                    Assistant United States Attorney
25

26   DATED: July 6, 2015
                                                2
     Case
      Case2:10-cr-00547-RFB-PAL
            2:10-cr-00547-RLH-PAL Document
                                  Document936  Filed07/02/15
                                           934 Filed 07/06/15 Page
                                                               Page33
                                                                    ofof
                                                                       33


                                     Certificate of Service
 1
             The undersigned certifies that the foregoing was filed with the clerk of court
 2
      via cm-ecf, and service will be accomplished via cm-ecf
 3

 4

 5                                                  s/ Elizabeth O. White
                                                    ELIZABETH O. WHITE
 6                                                  Appellate Chief and
                                                    Assistant United States Attorney
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26                                              3
